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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

)
MOTOROLA CREDIT CORPORATION )
and NOKIA CORPORATION, )
)
Plaintiffs and Judgment- )

Creditors, ) 02 Civ. 0666 (JSR) (FM)
)
Vv. )
)
KEMAL UZAN, et al., )
)
Defendants and Judgment- )
Debtors. )

 

DECLARATION OF GEORGE R. CALHOUN, V
I, George R. Calhoun, V, hereby declare as follows:

1. I am a Special Counsel with Fried, Frank, Harris, Shriver & Jacobson LLP and
represent Plaintiff Motorola Solutions Credit Company LLC f/k/a Motorola Credit Corporation
(“Motorola”) in the above-captioned action. I am providing this Declaration in support of
Motorola’s Memorandum of Law in Opposition to Sinan Kemal Uzan’s Motion to Vacate Order
Extending Restraints. I am making this Declaration based on personal knowledge.

2. Attached hereto as Exhibit 1 is a true and correct copy of a May 19, 2014 letter
concerning the May 29, 2014 evidentiary hearing that this Court sent by email to counsel for
Motorola and Mr. Uzan.

3. Attached hereto as Exhibit 2 is a true and correct copy of Motorola’s Proposed
Findings of Fact and Conclusions of Law with Respect to Intervener Sinan Kemal Uzan, which

Motorola filed on July 8, 2014. [Dkt. No. 1021.]
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I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 26, 2015

(tz LL -——

George R/Qalhoun, V
george.cathoun@friedfrank.com
